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AO 91 (Rev, 08/09) Criminal Complaint

 

 

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UNITED STATES DISTRICT CoURT “"B§YUTM
for the S`EP l 7
Southem District of Texas 2018
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United S&tevs of America ) E¥ir;i j BMU§%V §§$ii?$
) _
Victor LOPEZ-Rodriguez ) Case No. M*’ /g°`/ 935‘4/(
YoB: 1984 )
lVlexican National )
)
Defendant(s)
CRIMINAL `COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

On or about the date(s) of September 15, 2018 in the county of y Hida|go in the
Southem District of Texas , the defendant(S) violated: l
Coa'e Section . Ojj”ense Description
4 21 USC 841 Defendant did, knowingly and intentionally possess With the intent to
21 USC 846 distribute approximately 5.28 kilograms of cocaine, a Schedu|e ll controlled

substance, and did knowingly and intentionally conspire to possess with
intent to distribute With persons known and unknown approximately 5.28
kilograms of cocaine, a Schedule ll controlled substance

This criminal complaint is based on these facts:

'Before the United States l\/|agistrate Judge, Southern District of Texas, l, Christina Bergeron Flores, Specia| Agent,
United States immigration and Customs Enforcement, being duly sworn, depose and say the following:

See Attachment A

El Continued on the attached sheet.

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/ 7 Complamani s signature

' b Christina Berderon F|ores, HS| Special Aqent
W 6 / 7% g Printea’ name and title

Sworn to before me and signed in my presence t

Dare: 09/17/2013 Z"d }-¢¢~\ // jOM

Jadge’ S signature

 

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City and state: lV|cAllen, Texas Peter E. Ormsby, U.S. |Vlagistrate Judge/

Printed name and title

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Attachment A

On or about September l5, 2018, U.S. Immigration and 'Customs Enforcement (ICE),
Homeland Security lnvestigations (HSI) l\/IcAllen, Texas conducted the arrest of Victor
LOPEZ~ Rodriguez (hereafter LOPEZ) for possession with intent to distribute
approximately 5.28 kilograms of cocaine concealed within the vehicle he was driving
When applying for entry into the U.S at the Los Ebanos, TeXas Port of Entry (POE).

HSI McAllen, TeXas received a request for investigative assistance from the U.S.
Custorns and Border Protection Office of Field Operations (CBP OFO) at the Los Ebanos
POE. Customs and Border Protection Officers (CBPOS) detained Victor LOPEZ~
Rodriguez (hereafter LOPEZ) after discovering five packages containing a white
powdery substance which field-tested positive for cocaine, weighing a total of 5.28
kilograms (kg), concealed under the backseat of the vehicle LOPEZ was driving when
applying for entry into the U.S.

At primary inspection, CBPO stated he observed that the backseat of the vehicle to be
loosely seated according to his training and experience CBPO lifted the backseat of the '
vehicle and discovered five (packages) of a white powdery substance During secondary
inspection of the subject, LOPEZ stated to CBPO that he knew that there were five (5)
kilograms of cocaine concealed within the vehicle. CBPOS conducted field tests of the
packages yielding positive results for properties of cocaine.

During interview, HSI Special Agent and HSI Task Force Officer questioned LOPEZ
concerning the purpose and details of his frequent travels into the U.S. from Mexico.
LOPEZ stated he was hired to transport illegal narcotics into the U.S. to unidentified
individual in the Rio Grande Valley area. LOPEZ stated he was being paid $2,500 to
transport illegal narcotics to an unknown location in the Rio Grande Valley which was
concealed within the backseat of the vehicle he was driving. LOPEZ stated he assisted in
loading the packages of cocaine into the vehicle he was driving.

